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     6   Attorneys for Defendant/Third-Party Defendant, JORGE NARANJO, M.D.
     7

     8                  IN THE UNITED STATES DISTRICT COURT
     9               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
    10

    11 THE ESTATE OF RUBEN NUNEZ by               CASE NO.: 16-cv-1412-BEN-MDD
       and through its successor-in-interest
    12 LYDIA NUNEZ, ALBERT NUNEZ,                 SPECIAL VERDICT
       and LYDIA NUNEZ                            [PROPOSED]
    13                           Plaintiffs,      ASSIGNED FOR ALL PURPOSES TO:
    14        v.                                  JUDGE: HON. ROGER T. BENITEZ
                                                  MAG. JUDGE: HON MITCHELL D. DEMBIN
    15 COUNTY         OF    SAN  DIEGO,           Complaint Filed:               06/08/16
       WILLIAM GORE in his individual             FAC Filed:                     08/30/16
    16 capacity;    BRUCE LEICHT, an              Third-Party Complaint Filed:   12/12/16
       individual; ALFRED JOSHUA, an              SAC Filed:                     07/13/17
    17 individual; HARRY OREOL, an                Trial Date:                    06/04/19
       individual; KAYLA FISHER, an
    18 individual; MARCY MOON, an
       individual, and DOES 1-50
    19
                                Defendants.
    20
       COUNTY         OF   SAN   DIEGO,
    21 WILLIAM GORE, in his individual
       capacity; BRUCE LEICHT, an
    22 individual; and ALFRED JOSHUA, an
       individual;
    23
                      Third-Party Plaintiffs,
    24
             v.
    25 CORRECTIONAL            PHYSICIANS
       MEDICAL      GROUP, INC.,  a California
    26 Corporation; JORGE NARANJO, an
       individual; and SARA HANSEN, an
    27 individual; and ROES 1 - 10,

    28              Third-Party Defendants.
                                                1
                                    SPECIAL VERDICT [PROPOSED]
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     1         Defendant/Third-Party     Defendant,     JORGE      NARANJO,       M.D.   and
     2   Defendant/Third-Party Defendant, Correctional Physicians Medical Group, Inc.,
     3   hereby jointly submit the attached proposed Special Verdict for use at trial.
     4

     5   DATED: May 14, 2019                       KJAR, McKENNA & STOCKALPER,
     6                                             LLP

     7
                                                   By: /s/ Alessa R. Jonas
     8
                                                     ROBERT L. McKENNA III
     9                                               KAYTEE V. COSTA
                                                     ALESSA R. JONAS
    10
                                                     Attorneys for Defendant / Third-Party
    11                                               Defendant, JORGE NARANJO, M.D.
    12

    13   DATED: May 14, 2019                       NEIL, DYMOTT, FRANK, MCFALL,
                                                   TREXLER, MCCABE &HUDSON
    14

    15
                                                   By: /s/ Elizabeth Harris
    16                                               CLARK HUDSON
    17                                               ELIZABETH HARRIS
                                                     Attorneys for Defendant / Third-Party
    18                                               Defendant, CORRECTIONAL
    19                                               PHYSICIANS MEDICAL GROUP,
                                                     INC.
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                                      SPECIAL VERDICT [PROPOSED]
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     1                                   CERTIFICATION
     2         In compliance with section 2(f)(4) of the Electronic Case Filing
     3   Administrative Policies and Procedures of the United States District Court for the
     4   Southern District of California, I hereby certify and attest that the content of this
     5   document is acceptable to all named counsel above and that I have obtained
     6   consent from counsel to affix their electronic signature to this document.
     7

     8   DATED: May 14, 2019                       KJAR, McKENNA & STOCKALPER,
     9                                             LLP

    10
                                                   By: /s/ Alessa R. Jonas
    11
                                                     ROBERT L. McKENNA III
    12                                               KAYTEE V. COSTA
                                                     ALESSA R. JONAS
    13
                                                     Attorneys for Defendant / Third-Party
    14                                               Defendant, JORGE NARANJO, M.D.
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                                      SPECIAL VERDICT [PROPOSED]
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     8                    IN THE UNITED STATES DISTRICT COURT
     9                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
    10

    11 THE ESTATE OF RUBEN NUNEZ by                CASE NO.: 16-cv-1412-BEN-MDD
       and through its successor-in-interest
    12 LYDIA NUNEZ, ALBERT NUNEZ,
       and LYDIA NUNEZ
    13                                             SPECIAL VERDICT
                                   Plaintiffs,
    14
               v.
    15
         COUNTY OF SAN DIEGO, et al.
    16
                                  Defendants.
    17

    18

    19         We, the jury in the above-entitled action, find the following special verdict
    20   on the questions submitted to us:
    21

    22   PART 1.     Violation of the Fourteenth Amendment Right to Medical Care
    23               (42 U.S.C. section 1983)
    24

    25         Question No. 1:      Did Ruben Nunez have a serious medical need?
    26                                 ____yes     ____no
    27          If you answered “yes” to Question No. 1, answer Question No. 2. If you
    28   answered “no” to Question No. 1, go to Part 3.
                                                 4
                                     SPECIAL VERDICT [PROPOSED]
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     1         Question No. 2:      Do you find, by a preponderance of the evidence, that
     2   Jorge Naranjo, M.D. was deliberately indifferent to Ruben Nunez’s serious
     3   medical need?
     4                                 ____yes      ____no
     5          If you answered “yes” to Question No. 2, answer Question No. 3. If you
     6   answered “no” to Question No. 2, go to Part 3.
     7

     8          Question No. 3:      Do you find, by a preponderance of the evidence, that
     9   Jorge Naranjo, M.D.’s conduct or lack of conduct with respect to Ruben Nunez’s
    10   serious medical need was objectively unreasonable?
    11                                        ____yes        ____no
    12          If you answered “yes” to Question No. 3, answer Question No. 4. If you
    13   answered “no” to Question No. 3, go to Part 3.
    14

    15          Question No. 4:      Do you find, by a preponderance of the evidence, that
    16   Jorge Naranjo, M.D.’s deliberate indifference to Ruben Nunez’s serious medical
    17   needs was a substantial factor in causing Ruben Nunez’s death?
    18                                 ____yes      ____no
    19         If you answered “yes” to Questions 1, 2, 3 and 4, go to Part 2. If you
    20   answered “no” to any of Questions 1, 2, 3 or 4, skip Part 2 and go to Part 3.
    21

    22   PART 2.     Violation of Right of Association (42 U.S.C. section 1983)
    23         Question No. 5:    Do you find, by a preponderance of the evidence, that
    24   Jorge Naranjo, M.D.’s actions violated Lydia Nunez and Albert Nunez’s right to
    25   familial relationships under the Fourteenth Amendment to the United States
    26   Constitution?
    27                                 ____yes      ____no
    28         Go to Part 3.
                                                 5
                                     SPECIAL VERDICT [PROPOSED]
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     1   PART 3.     Wrongful Death/Negligence
     2

     3         Question No. 6:     Was Jorge Naranjo, M.D., as the employee of
     4   Correctional Physicians Medical Group, Inc., negligent in the care and treatment of
     5   Ruben Nunez?
     6                                 ____yes      ____no
     7         If you answered “yes” to Question No. 6, answer Question No. 7. If you
     8   answered “no” to Question No. 6, go to Part 4.
     9

    10         Question No. 7:     Was the negligence of Jorge Naranjo, M.D., as the
    11   employee of Correctional Physicians Medical Group, Inc., a substantial factor in
    12   causing Ruben Nunez’s death?
    13                                 ____yes      ____no
    14         Go to Part 4.
    15

    16   PART 4.     Damages
    17

    18         If you answered “yes” to Questions 1, 2, 3 and 4, answer Question 8. If you
    19   answered “no” to Questions 1, 2, 3, or 4, skip Question 8 and go to Question 9.
    20

    21         Question No. 8:     What are the Estate of Ruben Nunez’s damages?
    22         A.    Non-economic damages for the mental,
    23               physical and emotional pain and suffering
    24               experienced prior to death and loss of
    25               enjoyment of life.
    26               $_______________
    27

    28         Go to Question 9.
                                                 6
                                     SPECIAL VERDICT [PROPOSED]
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     2           Question No. 9:   What are Lydia Nunez and Albert Nunez’s damages?
     3

     4           If you answered “yes” to Question 5, answer Question 9(A).          If you
     5   answered “no” to Question 5, skip Question 9(A) and go to Question 9(B).
     6

     7           A.    Non-economic damages for the loss
     8                 of Ruben Nunez’s love, affection,
     9                 companionship, care, assistance,
    10                 protection and moral support.
    11                 $_______________
    12

    13           If you answered “yes” to Questions 6 and 7, answer Questions 9(B) and
    14   9(C). If you answered “no” to either Question 6 or 7, skip Questions 9(B) and
    15   9(C).
    16

    17           B.    Non-economic damages for the loss of
    18                 companionship, comfort, care, assistance,
    19                 protection, society and moral support.
    20                 $_______________
    21

    22           C.    Economic damages for funeral and
    23                 burial expenses.
    24                 $_______________
    25

    26           If you answered “yes” to Questions 1, 2, 3, and 4, or Question 5, answer
    27   Question 10. If you answered “no” to Questions 1, 2, 3, or 4, or Question 5,
    28   answer no further questions and have the presiding juror sign and date this form.
                                                  7
                                      SPECIAL VERDICT [PROPOSED]
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     2          Question 10:        Do you find, by a preponderance of the evidence, that
     3   Jorge Naranjo, M.D. acted with malice, oppression or reckless disregard for
     4   Plaintiffs’ rights?
     5                         ____yes       ____no
     6

     7

     8   Dated: ________________, 2019                   ______________________________
     9                                                   Presiding Juror
    10            Please deliver this verdict form to the bailiff upon completion.
    11

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                                         SPECIAL VERDICT [PROPOSED]
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     1                          CERTIFICATE OF SERVICE
     2       I hereby certify that on May 14, 2019, I electronically filed the following
       document SPECIAL VERDICT [PROPOSED] with the Clerk of the Court for
     3 the United States District Court, Southern District of California by using the
       CM/ECF system. Participants in the case who are registered CM/ECF users will
     4 be served using the Southern District’s CM/ECF system, as follows:

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    26   Dated: May 14, 2019                       By:    /s/Laurie Baker
    27
                                                         LAURIE BAKER

    28

                                               9
                                   SPECIAL VERDICT [PROPOSED]
